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                                                                 10
                                                                      Raymunda Santos

                                                                 11                        UNITED STATES DISTRICT COURT
                                                                                                DISTRICT OF NEVADA
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                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                                                                  :   Civil Action No.:
                                                                 14   RAYMUNDA SANTOS,                            :
                                                                                                                  :
                                                                 15
                                                                                          Plaintiff,              :   COMPLAINT FOR DAMAGES
                                                                 16          v.                                   :   PURSUANT TO THE FAIR
                                                                 17                                               :   CREDIT REPORTING ACT, 15
                                                                      MILLIMAN, INC,                              :   U.S.C. § 1681, ET SEQ.
                                                                 18                                               :
                                                                 19                       Defendant.              :   JURY TRIAL DEMANDED
                                                                                                                  :
                                                                 20
                                                                                                                  :
                                                                 21                                     INTRODUCTION
                                                                 22      1. The United States Congress has found the banking system is dependent upon
                                                                 23
                                                                            fair and accurate credit reporting. Inaccurate credit reports directly impair the
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                                                                 25         efficiency of the banking system, and unfair credit reporting methods
                                                                 26
                                                                            undermine the public confidence, which is essential to the continued
                                                                 27
                                                                            functioning of the banking system. Congress enacted the Fair Credit
                                                                 28
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                                                                         Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to ensure fair and accurate
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                                                                 2       reporting, promote efficiency in the banking system, and protect consumer
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                                                                         privacy. The FCRA seeks to ensure consumer reporting agencies exercise
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                                                                 5       their grave responsibilities with fairness, impartiality, and a respect for the
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                                                                         consumer’s right to privacy because consumer reporting agencies have
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                                                                         assumed such a vital role in assembling and evaluating consumer credit and
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                                                                 9       other information on consumers. The FCRA also imposes duties on the
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                                                                         sources that provide credit information to credit reporting agencies, called
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                                                                         “furnishers.”
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                                                                      2. Through a tightly wound set of procedural protections, the FCRA protects
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                                                                         consumers from the material risk of harms that otherwise flow from inaccurate
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                                                                 16      reporting. Thus, through the FCRA, Congress struck a balance between the
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                                                                         credit industry’s desire to base credit decisions on accurate information, and
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                                                                 19      consumers’ substantive right to protection from damage to reputation, shame,
                                                                 20
                                                                         mortification, and the emotional distress that naturally follows from
                                                                 21
                                                                         inaccurate reporting of a consumer’s fidelity to his or her financial
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                                                                 23      obligations.
                                                                 24
                                                                      3. Raymunda Santos (“Plaintiff”), by Plaintiff’s attorneys, brings this action
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                                                                 26      against Milliman, Inc (“Milliman” or “Defendant”) for violations of the
                                                                 27
                                                                         FCRA, as set forth below.
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                                                                                                    JURISDICTION AND VENUE
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                                                                 2
                                                                      4. This Court has federal question jurisdiction because this case arises out of

                                                                 3        violations of the FCRA. 15 U.S.C. § 1681 et seq.; 28 U.S.C. § 1331; Smith v.
                                                                 4
                                                                          Community Lending, Inc., 773 F.Supp.2d 941, 946 (D. Nev. 2011).
                                                                 5

                                                                 6    5. Venue is proper in the United States District Court for the District of Nevada
                                                                 7
                                                                          pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark
                                                                 8

                                                                 9
                                                                          County, Nevada and because Defendant is subject to personal jurisdiction in

                                                                 10       Clark County, Nevada; conducts business in Clark County, Nevada; the
                                                                 11
                                                                          events giving rise to this action occurred in Clark County, Nevada; and
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                                                                          Defendant is registered with the Nevada Secretary of State as a foreign limited
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                                                                          liability company and has appointed a registered agent in Nevada.
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                                                                 16
                                                                                                          PARTIES

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                                                                      6. Plaintiff is a natural person residing in the County of Clark, State of Nevada. In

                                                                 18       addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
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                                                                          1681a(c).
                                                                 20

                                                                 21   7. Milliman regularly assembles and/or evaluates consumer credit information for
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                                                                          the purpose of furnishing consumer credit reports to third parties, and uses
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                                                                 24
                                                                          interstate commerce to prepare and/or furnish the reports. Equifax is a

                                                                 25       “consumer reporting agency” as that term is defined by 15 U.S.C. § 1681a(f).
                                                                 26
                                                                      8. Unless otherwise indicated, the use of Defendant’s name in this Complaint
                                                                 27

                                                                 28       includes all agents, employees, officers, members, directors, heirs, successors,
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                                                                         assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                                                 1

                                                                 2       of Defendant.
                                                                 3
                                                                      Milliman Failed to Appropriately Respond to Plaintiff’s Written Dispute
                                                                 4

                                                                 5    9. In an Milliman credit report dated January 8, 2020, Milliman reported obsolete
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                                                                         information regarding Plaintiff’s medical history.
                                                                 7
                                                                      10. On or about October 12, 2020, pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff
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                                                                 9       disputed Milliman’s reported information regarding misreported trade lines
                                                                 10
                                                                         by notifying Milliman, in writing, of the incorrect and inaccurate credit
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                                                                         information reported by Milliman.
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                                                                      11. Specifically, Plaintiff mailed a written dispute, first class US Mail, to
                                                                 14
                                                                         Milliman (“Dispute Letter”), requesting disputed obsolete information be
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                                                                 16      removed, corrected, or deleted.
                                                                 17
                                                                      12. Milliman was required to conduct an investigation into the disputed
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                                                                 19      information on Plaintiff’s consumer report pursuant to 15 U.S.C. § 1681i.
                                                                 20
                                                                      13. On or about February 18, 2021, Plaintiff received notification from Milliman
                                                                 21
                                                                         through its “reinvestigation” that Milliman received notice of Plaintiff’s
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                                                                 23      dispute pursuant to 15 U.S.C. § 1681i(a)(6). However, Milliman claimed it
                                                                 24
                                                                         was unable to make the corrections Plaintiff requested because “…the
                                                                 25

                                                                 26      information contained in the report was specific to the time and insurance
                                                                 27
                                                                         company, so we cannot remove items that are subsequently outdated”.
                                                                 28
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                                                                      14. A reasonable investigation by Milliman would have provided an updated
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                                                                 2       report with the obsolete information removed.
                                                                 3
                                                                      15. Milliman failed to conduct a reasonable investigation as required by 15
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                                                                 5       U.S.C. § 1681i(a), and failed to remove obsolete information in connection
                                                                 6
                                                                         with Plaintiff’s credit reports.
                                                                 7
                                                                                                FIRST CAUSE OF ACTION
                                                                 8
                                                                                     VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                                                 9                          15 U.S.C. § 1681 ET SEQ. (FCRA)
                                                                 10
                                                                      16. Plaintiff incorporates by reference all the above paragraphs of this Complaint
                                                                 11
                                                                         as though fully stated herein.
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                                                                 13
                                                                      17. Defendant failed to conduct a reasonable investigation as required by 15
                                                                 14
                                                                         U.S.C. § 1681i(a), and refused to remove obsolete information in connection
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                                                                 16      with Plaintiff’s credit reports.
                                                                 17
                                                                      18. Defendant failed to review all relevant information provided by Plaintiff in
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                                                                 19      the dispute to Defendant, as required by and in violation of 15 U.S.C. §
                                                                 20
                                                                         1681i(a).
                                                                 21
                                                                      19. Upon receipt of Plaintiff’s dispute, Defendant failed to conduct an
                                                                 22

                                                                 23      investigation with respect to the disputed information as required by 15 U.S.C.
                                                                 24
                                                                         § 1681i(a).
                                                                 25

                                                                 26   20. Reporting and re-reporting the above-referenced derogatory information also
                                                                 27
                                                                         constituted a violation of 15 U.S.C. § 1681g(a) because the lack of clarity in
                                                                 28
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                                                                         the information reported and re-reported has the tendency to confuse ordinary
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                                                                 2       consumers like Plaintiff.
                                                                 3
                                                                      21. Despite Plaintiff’s efforts to correct Defendant’s obsolete reporting in
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                                                                 5       writing, Defendant neglected, refused, or failed to do so.
                                                                 6
                                                                      22. Defendant’s continued reporting of obsolete items in light of its knowledge
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                                                                         of the actual errors was willful. Plaintiff is, accordingly, eligible for statutory
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                                                                 9       damages.
                                                                 10
                                                                      23. Also as a result of Defendant’s continued inaccurate and negative reporting,
                                                                 11
                                                                         Plaintiff has suffered actual damages, including without limitation fear of
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                                                                 13
                                                                         credit denials, out-of-pocket expenses in challenging Defendant’s wrongful
                                                                 14
                                                                         representations, damage to her creditworthiness, and emotional distress.
                                                                 15

                                                                 16   24. By inaccurately reporting obsolete information after notice and confirmation
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                                                                         of their errors, Defendant failed to take the appropriate measures as required
                                                                 18

                                                                 19      under 15 U.S.C. § 1681e(b) and1681i(a).
                                                                 20
                                                                      25. The foregoing acts and omissions constitute numerous and multiple willful,
                                                                 21
                                                                         reckless, or negligent violations of the FCRA, including but not limited to
                                                                 22

                                                                 23      each and every one of the above-cited provisions of the FCRA, 15 U.S.C. §
                                                                 24
                                                                         1681.
                                                                 25

                                                                 26   26. As a result of each and every willful violation of the FCRA, Plaintiff is
                                                                 27
                                                                         entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 28
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                                                                            1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1); punitive
                                                                 1

                                                                 2          damages as the Court may allow pursuant to 15 U.S.C. § 1681n(a)(2); and
                                                                 3
                                                                            reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681n(a)(3) from
                                                                 4

                                                                 5          Defendant.
                                                                 6
                                                                         27. As a result of each and every negligent noncompliance of the FCRA, Plaintiff
                                                                 7
                                                                            is entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 8

                                                                 9          1681o(a)(1); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §
                                                                 10
                                                                            1681o(a)(2) from Defendant.
                                                                 11
                                                                                                    PRAYER FOR RELIEF
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                                                                            Plaintiff respectfully requests the Court grant Plaintiff the following relief
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                                                                 13

                                                                 14
                                                                      against Defendant:
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                                                                 16
                                                                                                FIRST CAUSE OF ACTION
                                                                                      VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                                                 17                          15 U.S.C. § 1681 ET SEQ. (FCRA)
                                                                 18
                                                                           • actual damages pursuant to 15 U.S.C. § 1681n(a)(1);
                                                                 19

                                                                 20        • statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
                                                                 21
                                                                           • punitive damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 22

                                                                 23           1681n(a)(2);
                                                                 24
                                                                           • costs of litigation and reasonable attorney’s fees, pursuant to 15 U.S.C. §
                                                                 25
                                                                              1681n(a)(3), and 15 U.S.C. § 1681(o)(a)(1) against Defendant for each
                                                                 26

                                                                 27           incident of negligent noncompliance of the FCRA; and
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                                                                 1
                                                                          • any other relief the Court may deem just and proper.

                                                                 2                                       TRIAL BY JURY
                                                                 3      28. Pursuant to the Seventh Amendment to the Constitution of the United States
                                                                 4
                                                                           of America, Plaintiff is entitled to, and demands, a trial by jury.
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                                                                      Dated: June 3, 2021
                                                                 7

                                                                 8                                          Respectfully submitted,
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                                                                                                            By     /s/ David Krieger, Esq.
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